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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov



    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

                  NOTICE OF FILING UPDATED ASSET PURCHASE AGREEMENT

    PLEASE TAKE NOTICE OF THE FOLLOWING:

             1.     Attached hereto as Exhibit A is a signed copy of the Updated Asset Purchase

Agreement (“APA”) of the Successful Bidder G3 Business Services, LLC.

Dated December 16, 2024.

                                                      DGIM Law, PLLC
                                                      Counsel for the Debtors
                                                      2875 NE 191st Street, Suite 705
                                                      Aventura, FL 33180
                                                      Phone: (305) 763-8708

                                                      /s/ Isaac Marcushamer
                                                      Isaac Marcushamer, Esq.
                                                      Florida Bar No. 0060373
                                                      Email: isaac@dgimlaw.com
                                                      Monique D. Hayes, Esq.
                                                      Florida Bar No. 843571
                                                      Email: monique@dgimlaw.com




1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Notice was served via CM/ECF Notification

and/or U.S. Mail to all parties on the attached service list on this 16 th day of December, 2024.



                                              /s/ Isaac Marcushamer
                                              Isaac Marcushamer, Esq.
                                              Florida Bar No. 0060373




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                 EXHIBIT A




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                               FIRST AMENDMENT TO
                            ASSET PURCHASE AGREEMENT

        This FIRST AMENDMENT TO ASSET PURCHASE AGREEMENT (this First
Amendment) is made as of December 16, 2024 (the Effective Date), by and between G3
Business Services LLC, a New Jersey limited liability company (Buyer), and Shiftpixy, Inc.,
Shiftpixy Staffing, Inc. and ReThink Human Capital Management, Inc. (each a Seller and,
collectively, Sellers).
                                       RECITALS

       WHEREAS, the parties entered into that certain Asset Purchase Agreement (the Purchase
Agreement) dated as of December 10, 2024 [ECF No. 108], whereby Buyer agreed to purchase
from Seller, and Seller agreed to sell to Buyer, the Transferred Assets;

        WHEREAS, Seller notified Buyer on December 13, 2024 that one of the clients set forth
on Schedule 1.1 sub-Schedule G of the Purchase Agreement, Bond No. 9, had submitted notice of
termination of the Master Services Agreement with Sellers and therefore Sellers would not be able
to transfer title to the client contract to Buyer on the anticipated Closing Date;

       WHEREAS, the parties entered into good faith negotiations to address the material change
and Buyer expressed its interest in moving forward with the Transaction for the same total
Purchase Price but on modified terms; and

       WHEREAS, Buyer and Sellers enter into this First Amendment to amend the terms of the
purchase price set forth in the Purchase Agreement and sub-Schedule G.

                                         AGREEMENT


       NOW, THEREFORE, in consideration of the foregoing and the mutual covenants and
agreements set forth in this Agreement and for other good and valuable consideration, the receipt
and sufficiency of which are hereby acknowledged, the Parties hereto agree as follows:

       1. The Recitals above are true and correct and are incorporated herein by reference.

       2. Terms used but not defined herein shall have the meaning ascribed to them in the
          Purchase Agreement.

       3. Section 4.1 of the Purchase Agreement shall be amended and restated as follows:

       4.1    Consideration; Payment.

                      (a)    The aggregate consideration (collectively, the Consideration) to
               be paid by Buyer for the purchase of the Transferred Assets shall be:


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                    (i)       the assumption of Assumed Liabilities,

                    (ii)      a cash payment equal to $850,000.00 (the Cash Payment),

                    (iii)     the payment of Cure Costs, and

                     (iv)     $1,000,000.00, payable in 12 quarterly installment payments (the
               Installment Payments) of $83,333.33 with the first installment payment due on
               or before March 31, 2025, and the last payment due on or before December 31,
               2027.

        (b) At the Closing, Buyer shall deliver, or cause to be delivered to Sellers, the Cash
Payment less the Deposit (the Closing Date Payment). The Closing Date Payment and any
payment required to be made pursuant to any other provision hereof shall be made in cash by
wire transfer of immediately available funds to such bank account as shall be designated in
writing by the applicable Party to (or for the benefit of) whom such payment is to be made at
least two (2) Business Days prior to the date such payment is to be made.

       4. Notwithstanding the provision for the payment of the Installment Payments, if Bond
          No. 9 (i) rescinds its termination of the Master Service Agreement, or (ii) enters into a
          new staffing agreement with the Buyer after the Closing, then in either case any
          unpaid Installment Payments shall be paid by the Buyer within 30 days of the
          occurrence of such event.

       5. Sub-Schedule G to Schedule 1.1 shall be deleted and replaced with Schedule G
          attached hereto.

       6. No other terms and conditions of the Purchase Agreement shall be modified by this
          First Amendment.



                                    [Signature Pages Follow]




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           IN WITNESS WHEREOF, the Parties have caused this First Amendment to Asset
    Purchase Agreement to be duly executed on the date first written above.

G3 Business Services LLC


By: ___________________________
Name: Gayathri Boyapalli
Title: Manager

                                                 SHIFTPIXY, INC., SHIFTPIXY
                                                 STAFFING,INC. AND RETHINK HUMAN
                                                 CAPITALMANGEMENT, INC.




                                                 By:
                                                 Name:
                                                 Title:




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                                            Schedule G

                                          Active Client List

Kose (Decorte)

Lions Floor

Seed School

Nilfisk

PoolCorp

Pactiv Evergreen

Little Caesars (Blue Line Distribution)

KW Property Management Co.

Century Trade Show Services, LLC.

Unbrako

Little Sister

Pasadena Baking Company




                          [First Amendment to Asset Purchase Agreement]
